Case 18-70275-sms             Doc 11     Filed 12/04/18 Entered 12/04/18 13:51:57                       Desc Main
                                         Document Page 1 of 1
                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


                                                      )
   In re                                              )     Chapter 13
                                                      )
   BARRY CLIFFORD ALDERMAN and                        )     Case No. 18-70275-sms
   KIM RAMPLEY ALDERMAN,                              )
   Debtor(s)                                          )




                     REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

   PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

   Bank (CareCredit [Last four digit of account:6979]), a creditor in the above-captioned chapter 13 case,

   requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy

   Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

   (as amended, the Bankruptcy Code), that all notices given or required to be given and all papers served or

   required to be served in this case be also given to and served, whether electronically or otherwise, on:


               Synchrony Bank
               c/o PRA Receivables Management, LLC
               PO Box 41021
               Norfolk, VA 23541
               Telephone: (877)885-5919
               Facsimile: (757) 351-3257
               E-mail: claims@recoverycorp.com


   Dated: Norfolk, Virginia
   December 4, 2018
                                                          By: /s/ Valerie Smith
                                                          Valerie Smith
                                                          c/o PRA Receivables Management, LLC
                                                          Senior Manager
                                                          PO Box 41021
                                                          Norfolk, VA 23541
                                                          (877)885-5919

   Assignee Creditor: CareCredit [Last four digit of account:6979]
